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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case Number: 0:22-cv-60974-RS

   GREEN TREE SERVICING LLC,
        Plaintiff,

   vs.

   MARC WEINBERGER, et. al.
         Defendant.
   __________________________________/

                 PLAINTIFF'S MOTION TO REMAND TO STATE COURT

         Plaintiff, GREEN TREE SERVICING LLC, by and through undersigned counsel, hereby

 files this Motion to Remand to State Court, and states:

                                                Introduction

         1. On May 23, 2022, Defendant MARC WEINBERGER filed a Notice of Removal to this

 Court of Plaintiff’s foreclosure action filed in Case No. CACE14004643 in the Circuit Court of

 the Seventeenth Judicial Circuit, in and for Broward County, Florida. [DE 1].

         2. This case should be remanded to state court for lack of jurisdiction because there is

 neither federal question nor diversity jurisdiction—in fact there is no active foreclosure case as the

 final judgment was entered on January 29, 2019.

                                            Standard of Review

         3. Federal courts are of limited jurisdiction. See University of South Alabama v. American

 Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999). As such, they have subject matter jurisdiction

 to hear only those cases that have been authorized by Congress or by the United States

 Constitution. See Kokkonen v. Guardian Life Ins. Co. of Amer., 511 U.S. 375 (1994). A defendant

 may “remove a case to federal court only if the district court could have had jurisdiction over the




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 case had the case been brought there originally.” Whitt v. Sherman International Corp., 147 F.3d

 1325, 1329 (11th Cir. 1998).

        4. Where a plaintiff objects to a defendant’s removal, the burden of proof is on the

 defendant to prove by a preponderance of the evidence that the action was properly removed.

 Forest v. Penn Treaty American Corp., 270 F.Supp.2d 1357, 1360 (M.D. Fla. 2003) (citing Woods

 v. Firestone Tire & Rubber Co., 560 F.Supp. 588, 590 (S.D. Fla. 1983)). As removal jurisdiction

 raises significant federalism concerns, federal courts are directed to construe removal statutes

 strictly and doubts about jurisdiction should be resolved in favor of remand to state court. See

 Diaz v. Sheppard, 85 F.3d 1502, 1505 (11th Cir. 1996); see also Forest v. Penn Treaty American

 Corp., 270 F.Supp.2d 1357, 1361 (M.D. Fla. 2003) (citing Klempner v. Northwestern Mutual Life

 Insurance Co., 196 F.Supp.2d 1233, 1237 (S.D. Fla. 2001)). Indeed, “[a] presumption in favor of

 remand is necessary because if a federal court reaches the merits of a pending motion in a removed

 case where subject matter jurisdiction may be lacking it deprives a state court of its right under the

 Constitution to resolve controversies in its own courts.” Forest, 270 F.Supp.2d at 1361.

        5. “A federal district court must remand to the state court any case that was removed

 improvidently or without the necessary jurisdiction.” Campos v. Sociedad Aeronautica de

 Medellin Consolidada, S.A., 882 F. Supp. 1056 (S.D. Fla. 1994) (citing Glaziers, Glassworkers,

 etc. v. Florida Glass and Mirror, 409 F. Supp. 225, 226 (M.D. Fla. 1976)). “Where there is any

 doubt concerning jurisdiction of the federal court on removal, the case should be remanded.” Id.

 (citing Woods v. Firestone Tire & Rubber Co., 560 F. Supp. 588, 590 (S.D. Fla. 1983); see

 Shamrock Oil & Gas Corp. v. Sheets, 313 US 100, 61 S. Ct. 868 (1941)) (The removal statute

 should be strictly construed against removal, in favor of remand.). Where the propriety of removal

 is in question, the burden of showing removal is proper is on the removing party. See Torres v.



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 AIG Claims Services, Inc., 957 F. Supp. 1271 (S.D. Fla. 1997) (citing Kirby v. OMI Corp., 655 F.

 Supp. 219, 220 (M.D. Fla. 1987)).

        6. Indeed, the plaintiff is “the master of the claim; he or she may avoid federal jurisdiction

 by exclusive reliance on state law.” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987); see

 Merrell Dow, 478 U.S. at 809 n. 6 (“Jurisdiction may not be sustained on a theory that the plaintiff

 has not advanced.”). In sum, if a plaintiff indeed has a viable state law claim, he may depend on it

 alone and thereby defeat attempts at removal. See Caterpillar, 482 U.S. at 386.

        7. Here, a review of the Complaint reflects that the Plaintiff only sought foreclosure

 under state law. None of Plaintiff's claims required the application of any federal law. As

 Plaintiff’s Complaint raised only state law questions, and its cause of action is created only by

 state law, there can be no federal question jurisdiction. Furthermore, there is no

        No Diversity Jurisdiction Because Defendant is a Citizen of Florida

        8. Defendants also seek to invoke this Court’s diversity jurisdiction under 28 U.S.C. §

 1332 to support removal under 28 U.S.C. § 1441(c). [See DE 1 p.1]. Because Defendants

 acknowledge that they are citizens of Florida who were sued in Florida, they cannot remove the

 action to federal court under the diversity statute.        [DE 5 p. 3 ¶10].         See 28 U.S.C.

 § 1441(b)(2); Tillman v. R.J. Reynolds Tobacco, 253 F.3d 1302, 1305 (11th Cir. 2001) (“For

 removal under 28 U.S.C. § 1441 to be proper, no defendant can be a citizen of the state in which

 the action was brought.”); Wickwire v. Ethicon, Inc., No. 04-81058, 2004 WL 3111851, * 2 (S.D.

 Fla. Dec. 30, 2004) (Defendant, Florida citizen, barred from removing matter to federal court based

 on diversity jurisdiction); Bank of New York Mellon Trust Co. v. Johnson, 2010 WL 5426783,

 *3 (N.D. Fla. Nov. 24, 2010) (Defendants, Florida residents, were barred from removing

 mortgage foreclosure action filed against them in Florida state court).



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        9. In addition, the following citizens of Florida were likewise served with process as

 defendants in the state action: KAREN WEINBERGER A/K/A KAREN M. WEINBERGER;

 12170 CWELT-2007; PHASE FIVE TOWNHOMES ASSOCIATION; and UNKNOWN

 TENANT(S). “When a defendant removes a case to federal court on diversity grounds, a court

 must remand the matter back to state court if any of the properly joined [defendants] are citizens

 of the state in which the suit was filed.” Florence v. Crescent Resources, LLC, 484 F.3d 1293,

 1297 (11th Cir. 2007) (citing Henderson v. Washington Nat. Ins. Co., 454 F.3d 1278, 1281 (11th

 Cir. 2006)). Because these defendants are also citizens of the State of Florida, removal is barred.

        WHEREFORE, Plaintiff respectfully requests that this Court remand the action to state

 court as neither federal question nor diversity jurisdiction exists.

                                  CERTIFICATE OF SERVICE

 I hereby certify that on June 21, 2022, I electronically filed the foregoing with the Clerk of Court

 using the CM/ECF system, which will send an electronic notice to the authorized CM/ECF filers.

 I also certify that a copy of the foregoing has been sent by U.S. Mail to:

 MARC WEINBERGER
 12170 SW 51st Court
 Fort Lauderdale, FL 33330
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